
This matter have been duly presented pursuant to Rule 1:20-10(b), following a granting of a motion for discipline by consent in **459DRB 18-016 of KAREEM J. CRAWFORD of BURLINGTON , who was admitted to the bar of this State in 2000;
And the District IIIB Ethics Committee and respondent having signed a stipulation of discipline by consent in which it was agreed that respondent violated RPC 1.4(b) (failure to keep a client reasonably informed about the status of a matter and promptly comply with reasonable requests for information), RPC 1.5(b) (failure to communicate to the client in writing the basis or rate of the fee) and RPC 8.4(d) (conduct prejudicial to the administration of justice);
And the parties having agreed that respondent's conduct violated RPC 1.4(b), RPC 1.5(b) and RPC 8.4(d), and that said conduct warrants a reprimand or lesser discipline;
And the Disciplinary Review Board having determined that a reprimand is the appropriate discipline for respondent's unethical conduct and having granted the motion for discipline by consent in District Docket Nos. IIIB-2015-0043E and IIIB-2016-0027E; And the Disciplinary Review Board having submitted the record of the proceedings to the Clerk of the Supreme Court for the entry of an order of discipline in accordance with Rule 1:20-16(e);
And good cause appearing;
It is ORDERED that KAREEM J. CRAWFORD of BURLINGTON is hereby reprimanded; and it is further
ORDERED that the entire record of this matter be made a permanent part of respondent's file as an attorney at law of this State; and it is further
ORDERED that respondent reimburse the Disciplinary Oversight Committee for appropriate administrative costs and actual expenses incurred in the prosecution of this matter, as provided in Rule 1:20-17.
